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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                    CASE NO.: 23-13258-BKC-LMI
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

ZENAIDA I HERNANDEZ FERNANDEZ

_____________________________/
DEBTOR

                                    NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtor is delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $250.00.

    The Debtor shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD, in the form of a money order or cashier's check only.
Payments must be sent to:

       NANCY K. NEIDICH, ESQUIRE
       STANDING CHAPTER 13 TRUSTEE
       P.O. BOX 2099
       MEMPHIS, TN 38101-2099

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by July 7, 2024 to bring the
Debtor totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order,
the Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtor failure to become current or timely file a Motion to Modify, the case shall
be dismissed without further notice or hearing.

    I HEREBY CERTIFY that a true and correct copy of this Notice of Delinquency was served, via U.S.
first class mail and/or CM/ECF, upon the parties listed on the attached service list this 23rd day of May
2024.



                                                         /s/ Nancy K. Neidich
                                                        _____________________________________
                                                         NANCY K. NEIDICH, ESQUIRE
                                                         STANDING CHAPTER 13 TRUSTEE
                                                         P.O. BOX 279806
                                                         MIRAMAR, FL 33027-9806
              Case 23-13258-LMI   Doc 73   Filed 05/23/24   Page 2 of 2NOTICE OF DELINQUENCY
                                                                    CASE NO.: 23-13258-BKC-LMI

                                  SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
ZENAIDA I HERNANDEZ FERNANDEZ
15553 SW 39TH ST
MIAMI, FL 33185

ATTORNEY FOR DEBTOR
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013
